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 8

 9
                                  UNITED STATES DISTRICT COURT
10

11                               NORTHERN DISTRICT OF CALIFORNIA

12

13 DR. MONA SHING,                                 Case No.
14
                    Plaintiff,                     COMPLAINT FOR DAMAGES
15                                                 1. WHISTLEBLOWER
     vs.                                              RETALIATION
16                                                 2. WRONGFUL TERMINATION IN
   CLOVIS ONCOLOGY, INC.; ANN                         VIOLATION OF PUBLIC POLICY
17 BOZEMAN; and DOES 1-10, inclusive,              3. DEFAMATION
18                                                 4. BREACH OF CONTRACT
                    Defendants.                    5. BREACH OF THE IMPLIED
19                                                    COVENANT OF GOOD FAITH
                                                      AND FAIR DEALING
20
                                                   DEMAND FOR JURY TRIAL
21

22

23

24

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28

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 1      I.        INTRODUCTION

 2           1.     Plaintiff Mona Shing, M.D. (“Dr. Shing” or “Plaintiff”) has over 15 years of

 3 experience in the pharmaceutical and biotechnology industry, with positions at Genentech, Inc.,

 4 Amgen, Inc., and Schering AG. In April 2017, she took a job as Senior Vice President, Global

 5 Medical Affairs with defendant Clovis Oncology, Inc. (“Clovis”) in San Francisco. She was

 6 drawn to the position because of the company’s development of rucaparib, a treatment for

 7 advanced ovarian cancer and potentially other cancers, such as breast cancer and pancreatic

 8 cancer. Throughout her career, Dr. Shing has maintained a central focus – improving the lives of

 9 her patients – which she accomplishes through new science, medicine, compassion, truth, and

10 integrity.

11           2.     However, Dr. Shing soon learned that Clovis’ executive leadership viewed

12 compliance with applicable laws and regulations not as an obligation, but as an obstacle. Thus,

13 when Dr. Shing repeatedly reported non-compliant and unethical behavior to the Chief Medical

14 Officer, her supervisor Lindsey Rolfe – who was also a member of the Clovis Compliance

15 Committee tasked with ensuring compliance – Rolfe responded with callous indifference, turning

16 a blind eye to the legal risks and danger to patients.

17           3.     In particular, Dr. Shing reported that the Clovis CEO, Patrick Mahaffy, provided

18 unlawful kickbacks – including funding a non-compliant and potentially dangerous study in

19 response to a foreign government official’s threats to withdraw support from two unrelated

20 Clovis studies. Mahaffy unabashedly touted the non-compliant study in earnings calls, thereby

21 grossly misleading investors. Such misconduct was standard practice at the company.

22           4.     Clovis’ response to Dr. Shing’s compliance efforts was telling – criticize her

23 “leader assimilation” skills based on false, subjective, and misleading allegations, in a clear

24 attempt to force her into resigning. Rather than protect Dr. Shing from retaliation, the

25 company’s Senior Vice President, Human Resources, defendant Ann Bozeman, became its

26 agent, directly instructing Dr. Shing to engage in non-compliant behavior, claiming it was critical

27 for her success at Clovis. Moreover, before Dr. Shing knew that she was locked out of Clovis,

28 and 6 days before her December 8, 2017, departure date, Bozeman sent an email to Dr. Shing’s

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 1 colleagues, falsely implying that she abandoned them before a critical international meeting,

 2 forcing its cancellation.

 3      II.         JURISDICTION AND VENUE

 4             5.     Pursuant to 28 U.S.C. section 1332(a)(1), the Court has original jurisdiction over

 5 this action because the amount in controversy exceeds $75,000, exclusive of interest and costs,

 6 and the parties are citizens of different states.

 7             6.     The Court has personal jurisdiction over Clovis because, among other things, the

 8 company transacts business in this District, and Clovis engaged in wrongdoing in the District.

 9             7.     Pursuant to 28 U.S.C. section 1391(b)(1)-(2), venue is proper because Clovis

10 resides in the District and a substantial part of the events or omissions giving rise to the action

11 occurred in the District.

12      III.        PARTIES

13             8.     Plaintiff Mona Shing, M.D., received a Bachelor of Science degree in

14 Engineering from the University of California, Los Angeles in 1989, followed by a Doctor of

15 Medicine degree from Georgetown University School of Medicine in 1995. She has a physician

16 and surgeon license from the Medical Board of California since 1997, and is board certified by

17 the American Board of Internal Medicine since 1999. From 2000-2001, she was an Attending

18 Physician in the Department of Internal Medicine at Santa Clara Medical Center.

19             9.     In 2002, Dr. Shing began working in the pharmaceutical and biotechnology

20 industry, as a Project Clinician in Global Medical Development Oncology with Schering AG

21 (which later merged with Bayer AG), in which capacity she had responsibilities for the design,

22 development, and strategy of Phase I-III clinical drug studies. In 2005, Dr. Shing was hired as a

23 Director in Global Clinical Development Oncology Therapeutics at Amgen, Inc., where she led

24 the strategic clinical development of panitumumab (Vectibix®), a treatment for metastatic

25 colorectal cancer. In 2008, Dr. Shing began working for Genentech, Inc., and received multiple

26 promotions over the years to Group Medical Director, leading an international team in the

27 development of trastuzumab (Herceptin®), a treatment for breast, stomach, and gastro-

28 esophageal junction cancer. From 2012-2014, Dr. Shing was Genentech’s Senior Medical

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 1 Director in Global Pharma Development Oncology, working as a late-stage clinical development

 2 expert for various programs.

 3          10.    In April 2017, Dr. Shing began her employment with defendant Clovis Oncology,

 4 Inc., as Senior Vice President, Global Medical Affairs, broadly responsible for identifying and

 5 executing the medical affairs strategy necessary to develop and commercialize the company’s

 6 approved products. Dr. Shing has been published over 50 times, with manuscripts in peer-

 7 review medical journals and abstracts/posters in peer-reviewed international congresses.

 8          11.    Defendant Clovis Oncology, Inc. is a biopharmaceutical company focused on

 9 acquiring, developing, and commercializing cancer treatments in the United States, Europe, and

10 other international markets. Clovis’ development programs are targeted at specific subsets of

11 cancer, combining precision medicine with companion diagnostics to direct therapeutics to those

12 patients most likely to benefit from them. Clovis has one marketed product, Rubraca®

13 (rucaparib) tablets. The company’s Chief Executive Officer is Patrick Mahaffy (“Mahaffy”).

14 Clovis’ headquarters is located in Boulder, Colorado, although the company maintains an office

15 in San Francisco, where Dr. Shing was employed.

16          12.    Clovis and its officers have repeatedly been sued for making false and misleading

17 statements regarding the company’s drug development, including the efficacy of rociletinib, its

18 safety profile, the progress toward U.S. Food and Drug Administration (“FDA”) approval of the

19 drug, and its potential for market success. The largest of the rociletinib class actions settled on

20 October 26, 2017, for $167.0 million ($25.0 million in cash and issuance of $142.0 million in

21 Clovis common stock). In addition, Clovis has been investigated and charged by government

22 agencies, including the U.S. Securities and Exchange Commission (“SEC”) and the U.S.

23 Department of Justice, relating to the company’s regulatory update announcement in November

24 2015 that the FDA requested additional clinical data on the efficacy and safety of rociletinib. On

25 September 18, 2018, the SEC announced that Clovis, its CEO (Mahaffy), and its former CFO

26 were to pay more than $20 million in penalties to settle charges of misleading investors about the

27 company’s developmental lung cancer drug, rociletinib. Clovis was charged with violating

28 Section 17(a)(2) of the Securities Act of 1933 and Section 13(a) of the Securities Exchange Act

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 1 of 1934. The complaint charged Mahaffy with violating Section 17(a)(2) and aiding and abetting

 2 Clovis’ violations of Section 13(a).

 3             13.     At all times material to this complaint, defendant Ann Bozeman (“Bozeman”) was

 4 the Senior Vice President, Human Resources for Clovis. In doing the actions alleged herein,

 5 Bozeman was acting within the course and scope of her authority as employee and with the

 6 permission and consent of Clovis. Furthermore, Clovis employed Bozeman with a conscious

 7 disregard of the rights of others and authorized and ratified her conduct alleged herein.

 8             14.     Plaintiff is ignorant of the true names and capacities of the defendants sued herein

 9 as Does 1-10, inclusive, and therefore sues these defendants by such fictitious names and

10 capacities. Plaintiff is informed and believes, and on that basis alleges, that each defendant sued

11 under such fictitious names is in some manner responsible for the occurrences herein alleged,

12 and that her injuries as herein alleged were proximately caused by the conduct of such

13 defendants.

14       IV.         FACTUAL SUMMARY

15             15.     Plaintiff Mona Shing, M.D., began her employment with defendant Clovis

16 Oncology, Inc. on April 3, 2017, as Senior Vice President, Global Medical Affairs. Dr. Shing

17 left a successful career with Genentech, Inc. because she was enthusiastic about Clovis’

18 development of rucaparib, a treatment for advanced ovarian cancer, with clinical potential for the

19 treatment of other solid tumors.

20             16.     As Senior Vice President, Global Medical Affairs (“GMA”), Dr. Shing was

21 responsible for leading the development of Clovis GMA’s program strategy and its evolution.

22 As background, medical affairs originally emerged because of regulatory pressure for drug

23 companies to separate medical and commercial functions. Over time, medical affairs evolved

24 into a separate medical organization primarily working on post-drug approval activities, with

25 scientific and clinical expertise to support commercial products. Dr. Shing reported to Lindsey

26 Rolfe (“Rolfe”), Clovis’ Executive Vice President and Chief Medical Officer, and a member of

27 the Clovis Compliance Committee.

28 ///

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 1          17.    At Clovis, Dr. Shing supported GMA research programming across the

 2 continuum of drug development: investigator-initiated trials (“IIT”), cooperative group and

 3 collaborator research, and company-sponsored GMA trials. In particular, Dr. Shing inherited the

 4 Rucaparib Global IIT program and became responsible for the Global IIT program. Amongst the

 5 Rucaparib IIT program of greater than 20 clinical trials, there was an IIT called the STRAT-

 6 STAMPEDE study, which was of significant concern to Clovis and Dr. Shing because it had the

 7 largest cost commitments and longest timelines (payments of more than $1 million/year without

 8 a specified end date, written in a non-compliant letter from Clovis to a STRAT-STAMPEDE

 9 study member in June 2016), and all without a clear scientific and medical question that would

10 be achievable due to the evolving standard of care for prostate cancer.

11          18.    Per Clovis’ job description for the Senior Vice President, Global Medical Affairs

12 position, ensuring compliance with applicable laws and regulations was a key component of the

13 job. Thus, among Dr. Shing’s responsibilities were: “Drive unwavering compliant work

14 practices” and “Establish and maintain a compliant, supportive partnership with the Commercial

15 organization and serve as its medical content expert.”

16          19.    Dr. Shing took her compliance responsibilities seriously, as she had throughout

17 her career. However, she soon learned that Clovis had serious compliance issues, the likes of

18 which she had never experienced in her more than 15 years in the pharmaceutical and

19 biotechnology industry. However, when Dr. Shing brought these non-compliant practices to the

20 attention of Clovis’ executive leaders, the company chose to retaliate, rather than address the

21 serious problems.

22          20.    Indeed, on her very first day, Dr. Shing received an email from one of her

23 subordinates, the National Medical Science Liaison (“MSL”) Director, where he expressed fear

24 of retaliation by Clovis’ CEO, Patrick Mahaffy, for reporting negative feedback from a U.S.

25 physician based in Colorado, who was a potential prescriber of Clovis’ drug, rucaparib. Shortly

26 thereafter, Mahaffy committed to funding a forum in Dubai, United Arab Emirates, co-chaired

27 by this Colorado physician. Dr. Shing would later learn that Mahaffy’s unlawful kickback to this

28 Colorado physician was being processed via the GMA educational program in a non-compliant

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 1 manner.

 2         21.     On April 12, 2017, a Clovis All-GMA, face-to-face meeting was held in San

 3 Francisco. During the meeting, a Senior MSL from Germany gave a non-compliant presentation.

 4 As a senior-level MSL and the only Clovis GMA employee in Germany at the time, he had great

 5 responsibility for ensuring the compliant conduct of MSL duties in that country. Dr. Shing

 6 provided feedback to the Senior MSL regarding his non-compliance, but he was resistant.

 7 Thereafter, Dr. Shing reported her concerns about the Senior MSL to her supervisor, Rolfe, who

 8 is also a member of Clovis’ Compliance Committee, but Rolfe was utterly indifferent. Later, Dr.

 9 Shing would be criticized for her leadership in attempting to ensure compliance by the Senior

10 MSL.

11         22.     On April 20, 2017, Dr. Shing met with defendant Ann Bozeman, Senior Vice

12 President, Human Resources (“HR”), at Clovis’ Boulder, Colorado office. Despite her role

13 being limited to HR, Bozeman instructed Dr. Shing to force collaboration between Clovis’ U.S.

14 Commercial Sales team and the U.S. Medical Science Liaisons, claiming it was essential to Dr.

15 Shing’s success with the company. Dr. Shing understood the instruction to be in violation of the

16 company’s legal and ethical obligations, as drug companies like Clovis are required to maintain a

17 strict separation between U.S. commercial activities and U.S. medical affairs non-promotional

18 activities. Worse still, Bozeman’s instruction was accompanied by a thinly-veiled threat of

19 retaliation, as she boasted about her role in the firing of another employee for complaining about

20 an alleged extra-marital affair by one of the Clovis’ Vice Presidents (with whom Dr. Shing was

21 working directly). Bozeman gossiped to Dr. Shing about this Commercial Europe Vice

22 President’s alleged affair with a contractor in Commercial Europe, gratuitously disclosing

23 confidential information in the process. In fact, an extra-marital affair between the Clovis VP

24 and a contractor working with that VP could be non-compliant because of potential kickback(s)

25 with personal advantage (according to Section III, Clovis Code of Business Ethics), and which

26 was likely the concern of the employee who was fired by Bozeman. As before, Dr. Shing

27 reported Bozeman’s egregious misconduct to her supervisor, Rolfe, who again responded with

28 indifference – oddly confessing to Dr. Shing that she had previously reprimanded that fired

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 1 employee for reporting the alleged extra-marital affair to her in early 2017, telling him to shut up

 2 about it.

 3         23.     Bozeman was previously the Vice President of Human Resources at Jeppesen

 4 Sanderson, Inc., a subsidiary of the Boeing Corporation (“Boeing”). In that capacity, Bozeman

 5 was accused of age and sex discrimination, and was ultimately terminated for authorizing

 6 retention payments to employees in violation of Boeing policy.

 7         24.     On April 25, 2017, Dr. Shing learned of problems with the STRAT-STAMPEDE

 8 study, a cooperative group study by the Medical Research Council in the United Kingdom

 9 (“UK”), led by Dr. Simon Chowdhury (“Chowdhury”), a UK National Health Service physician

10 and UK government official. Planning discussions were then underway to incorporate Clovis’

11 rucaparib drug therapy into the STAMPEDE trial for certain prostate cancer patients, to be called

12 the STRAT-STAMPEDE study.

13         25.     On May 3, 2017, the company’s CEO, Mahaffy, announced the STRAT-

14 STAMPEDE study to investors during an earnings call.

15         26.     On May 5, 2017, Dr. Shing sent an email to Rolfe and others, complaining that

16 the proposed STRAT-STAMPEDE study was non-compliant [emphasis in original]: “Clovis

17 Oncology Global Medical Affairs does not agree with IRB [Institutional Review Board]

18 submission of the STAMPEDE Study Protocol Amendment 16.03 as written (attached),

19 particularly without Clovis Oncology’s clear understanding of the STAMPEDE study

20 amendment’s budget implications, timelines, and the SOC [standard of care] study

21 treatment combinations, i.e., will there be a chemotherapy combination as part of the SOC

22 with rucaparib? [¶] Clovis Oncology GMA does not have the funds available in the GMA

23 IIT budget to pay for the STAMPEDE Study Protocol Amendment 16.03 as written & with

24 current information about biomarker screening.”

25         27.     On May 17, 2017, after approximately 6 weeks of employment with Clovis,

26 Bozeman informed Dr. Shing that she would be going through a “Leader Assimilation” exercise,

27 wherein Bozeman would solicit Dr. Shing’s subordinates for information criticizing her

28 leadership. On information and belief, employees similarly situated to Dr. Shing were not

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 1 required to go through the “Assimilation” exercise, which was instead a pretext for retaliation

 2 against Dr. Shing for complaining about non-compliance at Clovis. Indeed, the primary criticism

 3 gathered by Bozeman about Dr. Shing in the exercise was her feedback to the Senior MSL

 4 regarding his non-compliant activities.

 5         28.     Between May 19-22, 2017, Dr. Shing sent multiple emails stating that Clovis

 6 could not commit to funding the STRAT-STAMPEDE study protocol with rucaparib until

 7 additional medical and scientific information became available later in the year.

 8         29.     However, on May 26, 2017, the Clovis CEO, Mahaffy, met with Chowdhury, the

 9 STRAT-STAMPEDE study’s chief investigator. Chowdhury threatened to withdraw his support

10 from two separate and independent Clovis-sponsored studies, TRITON2 and TRITON3, if

11 Clovis did not commit to funding the sham STRAT-STAMPEDE study. Alarmingly, Mahaffy

12 acceded to the demand, agreeing to millions of dollars in kickbacks for the sham STRAT-

13 STAMPEDE study – before the study design had been finalized and Clovis GMA had completed

14 its compliance assessment.

15         30.     Dr. Shing was appalled, as Mahaffy’s kickback for Chowdhury’s sham study was

16 non-compliant, unethical, and potentially harmful to the study patients with prostate cancer.

17 Once again, Dr. Shing reported her concerns to Rolfe (i.e., her supervisor and a member of the

18 Clovis Compliance Committee, to whom violations were to be reported), but Rolfe took no

19 action, instead telling Dr. Shing to obey Mahaffy. When Dr. Shing later complained about

20 Mahaffy’s separate kickback to the Colorado physician and potential prescriber of Clovis’ drug

21 for his Dubai, United Arab Emirates, program, described above, Rolfe again responded that Dr.

22 Shing had to follow Mahaffy’s lead. In both instances, Rolfe utterly failed to exercise her

23 responsibility to ensure compliance.

24         31.     On June 16, 2017, based on Mahaffy’s public communications about the sham

25 STRAT-STAMPEDE study, Credit Suisse projected >$800 million in the first 3 years of prostate

26 cancer earnings for Clovis, grossly misleading investors at that time.

27         32.     On July 6, 2017, following a related discussion with Rolfe, Mahaffy stormed into

28 Dr. Shing’s office in San Francisco, interrupting an ongoing meeting, and started yelling at Dr.

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 1 Shing. Mahaffy tried to force Dr. Shing to immediately initiate a rucaparib drug Expanded

 2 Access Program (“EAP”). Dr. Shing calmly answered “No” and slowly stood up from her seat

 3 to meet Mahaffy at eye level for this critical conversation, watching Mahaffy transform into a

 4 deep red rage. Again, Mahaffy yelled at Dr. Shing to immediately initiate a rucaparib drug EAP

 5 in Europe. And again, Dr. Shing calmly answered “No” and stated that there were key factors,

 6 including patients’ unmet needs, the EAP patient population, European regulatory requirements,

 7 etc., that the rucaparib EAP Working Group’s cross-functional team members were assessing for

 8 a possible rucaparib EAP. No amount of clear, calm, expert discussion was able to penetrate

 9 Mahaffy’s fury. Mahaffy raged for his new rucaparib EAP with total disregard for the careful

10 compliance assessment being conducted by Dr. Shing and the global cross-functional team.

11 Mahaffy was fixated on getting his rucaparib EAP because Clovis’ competitor, Tesaro, Inc., had

12 started a new niraparib drug EAP; so Mahaffy wanted his EAP, too. Dr. Shing calmly stated

13 “No” a third time, and as she tried again to discuss that an EAP is for supporting patients’ unmet

14 needs and that an EAP is not a sales and marketing tool, Mahaffy turned around and stormed out,

15 sliding shut her office door with a loud bang. Dr. Shing was stunned for several moments, until

16 her junior colleague – who was still seated for their meeting – stated, “You just said ‘No’ to the

17 CEO multiple times.” Dr. Shing explained to her junior colleague that it is important for the

18 company to be compliant, and for the rucaparib EAP Working Group to carefully assess patients’

19 unmet medical needs and operational procedures for a possible rucaparib EAP. After the

20 sickening interaction with Mahaffy, and after completion of a productive meeting with the junior

21 colleague, Dr. Shing cried privately in her office – exhausted and deeply fearful that Mahaffy

22 could potentially harm patients, and that she may not be able to protect patients and the

23 organization against Mahaffy’s reckless abuse of power.

24          33.    On August 2, 2017, Mahaffy had another earnings call with investors, again

25 touting the sham STRAT-STAMPEDE study. Mahaffy failed to disclose to investors that a UK

26 physician had extorted expensive funding for this sham study from Mahaffy, by threatening to

27 sabotage two other, independent Clovis studies, and thereby derailing Clovis’ potentially

28 lucrative prostate cancer program. Mahaffy also failed to disclose to investors that the sham

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 1 STRAT-STAMPEDE study did not yet have an agreed study design, treatment plans, or

 2 timelines that could actually improve the lives of patients with newly-diagnosed, castration-

 3 sensitive, high risk or metastatic prostate cancer.

 4          34.    By this time, a clear pattern had emerged – Dr. Shing worked to ensure

 5 compliance, reporting her concerns to Rolfe and the Compliance Committee, who took no action

 6 whatsoever. Instead, Clovis, Rolfe, and Bozeman retaliated against Dr. Shing, subjecting her to

 7 unfounded and subjective criticism of her Clovis assimilation, in an obvious effort to bully Dr.

 8 Shing into silence. Thus, on August 25 and 28, 2017, Dr. Shing – who has successfully led

 9 teams throughout her distinguished career in the pharmaceutical and biotechnology industry –

10 was targeted, bullied, and berated for purported “poor Clovis assimilation” in a series of surreal,

11 malicious, and multi-hour group harassment meetings led by Bozeman and endorsed by Rolfe.

12 Nonetheless, Dr. Shing maintained her composure, determined to fix the dangerous culture of

13 non-compliance at Clovis.

14          35.    Also, on August 28, 2017, Dr. Shing learned that Mahaffy had provided

15 additional kickbacks, which Mahaffy and Rolfe had hidden from her, thwarting Dr. Shing’s

16 ability to ensure compliance, one of her principal responsibilities.

17          36.    On October 11, 2017, Dr. Shing presented her proposal for a Rucaparib Medical

18 Differentiation Workshop to Clovis executive leadership, including Mahaffy. Dr. Shing’s

19 Medical Differentiation Workshop proposal received support and approval by Mahaffy and

20 Clovis executive leadership. Dr. Shing, the GMA team, Clovis cross-functional colleagues, and

21 external consultants worked together to create the important workshop to be held in December

22 2017, in preparation for FDA’s approval of rucaparib maintenance treatment of recurrent ovarian

23 cancer anticipated in early 2018.

24          37.    On October 18, 2017, at a Clovis leadership meeting in Colorado, Mahaffy

25 challenged the Clovis Vice President, Compliance Officer’s presentation in front of more than 20

26 Clovis senior leaders and forcefully pressured him to reduce compliance restrictions at the

27 company, again showing Mahaffy’s contempt for the compliance process. As the Compliance

28 Officer calmly addressed the CEO’s tirade against compliance, Mahaffy’s face turned red with

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 1 rage, giving Dr. Shing a sickening flashback to Mahaffy’s harassment in her office on July 6,

 2 2017. This, of course, had a chilling effect on the compliance efforts of Dr. Shing and others.

 3          38.    On October 19, 2017, Dr. Shing had a discussion with Neil Chandler

 4 (“Chandler”), Vice President and Head of Commercial Europe, regarding non-compliant and

 5 unethical behavior by his subordinates. In a subsequent email, Dr. Shing was explicit about her

 6 concerns: “Attached is Spain GM’s [General Manager’s] solicitation for a clinical study proposal

 7 from APICES CRO [a clinical research company] (attached), without prior agreement or input

 8 by GMA – There is no clinical research objective, patient population, etc. included in this

 9 APICES CRO proposal. [¶] It is not the correct role of a Europe Commercial GM to solicit a

10 CRO proposal about a clinical study, without GMA’s or Clinical Development’s awareness or

11 endorsement.” In addition, Dr. Shing was concerned that the Spain Commercial GM had non-

12 compliant clinical study discussions with a key Spanish physician, who was a longtime

13 collaborator with Clovis GMA and Clinical Development, and an independent expert consultant

14 for Clovis’ ongoing rucaparib marketing authorization application to the European Medicines

15 Agency. Yet again, Dr. Shing reported her concerns to Rolfe, who again did nothing.

16          39.    On November 2, 2017, Mahaffy had another earnings call with investors, as

17 before touting the sham STRAT-STAMPEDE study, without explaining that it had been funded

18 with unlawful kickback money.

19          40.    On November 7, 2017, Dr. Shing met with Chandler at meetings in Vienna,

20 Austria, again highlighting the non-compliant and unethical behavior of his subordinates.

21 Chandler responded with hostility, forcing Dr. Shing to address the matter with Rolfe and

22 Bozeman. After professing initial support, Bozeman later harassed and bullied Dr. Shing based

23 on false complaints from Chandler. Indeed, Bozeman simply believed the unfounded allegations

24 of Chandler, failing to conduct an investigation – a clear violation of her HR responsibilities.

25 Moreover, when Dr. Shing later forwarded emails to Bozeman from colleagues who attended the

26 meetings praising her performance, Bozeman told her to stop sending the emails.

27          41.    On November 20, 2017, Dr. Shing had a final, face-to-face meeting with Rolfe.

28 Dr. Shing again reported the non-compliant and unethical behavior by Chandler and his

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 1 subordinates, and Bozeman’s failure to protect her from retaliation. Rolfe agreed about

 2 Chandler’s misconduct but once again failed to take any action to address the matter. Instead,

 3 Rolfe gave Dr. Shing two choices: (1) resign and negotiate a severance, or (2) stay at Clovis and

 4 risk more retaliation from Bozeman, who Rolfe indicated would not be leaving the company.

 5 Dr. Shing asked Rolfe for her advice and was told that she should consider negotiating an exit

 6 package. During the meeting, there was no discussion of termination.

 7          42.    Despite the shock of effectively being told that it was hopeless to ensure

 8 compliance and her best option was to quit, Dr. Shing remained dedicated to her job. Thus, she

 9 continued preparations for the Clovis-wide Rucaparib Medical Differentiation Workshop, which

10 Dr. Shing was hosting in San Francisco on December 4 and 5, 2017. In addition, she continued

11 to develop positive working relationships with her colleagues and subordinates.

12          43.    Finally, Dr. Shing remained dedicated to compliance, again complaining about

13 non-compliant, unethical behavior by an EU Commercial leader on November 30, 2017: “As

14 clearly communicated by the Clovis Oncology members to the [D--] Study team – It is required

15 for the [D--] Study proposal to be fully evaluated through the Clovis Oncology Global IIT

16 Review process, and a go/no go decision for possible Rucaparib participation in the [D--] Study

17 will be based on unmet medical need for patients as per the Clovis Oncology Global IIT Program

18 objective and review process.” A few hours later, Dr. Shing was forced into a retaliatory

19 departure.

20          44.    On December 2, 2017, Bozeman sent an email to the attendees of Dr. Shing’s

21 Rucaparib Medical Differentiation Workshop (approximately 45 colleagues): “Team – given that

22 [Dr. Shing] has left Clovis, this meeting will be postponed to a later date. We apologize for this

23 inconvenience and hope that those traveling to San Francisco for this meeting only have time to

24 cancel your flight and hotel.” Given that the workshop was to begin only two days later, on

25 December 4, the email was clearly defamatory, falsely implying that Dr. Shing abandoned her

26 colleagues immediately before a critical, long-planned international meeting, forcing its

27 cancellation. In fact, Dr. Shing was still employed by Clovis and planned to conduct the

28 important Medical Differentiation Workshop on December 4 and 5, 2017. On December 3,

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 1 2017, Dr. Shing went to work to prepare for the workshop but discovered she was locked out of

 2 her office without notice. Then Dr. Shing found out Bozeman lied about her having left Clovis,

 3 and that Bozeman had abruptly cancelled Dr. Shing’s workshop without her knowledge.

 4          45.     In December 2017 and early 2018, Dr. Shing repeatedly tried to be reinstated in

 5 her Senior Vice President, Global Medical Affairs position at Clovis – a position at the top of Dr.

 6 Shing’s biopharmaceutical career dedicated and focused on behalf of patients – but she was shut

 7 out.

 8          46.     Dr. Shing refused to be bullied into silence by Clovis. Dr. Shing’s job

 9 performance at Clovis was exemplary, and continued to be borne out after her forced departure

10 on December 8, 2017, when: (1) the rucaparib EAP’s initiation was in fact postponed until

11 rucaparib received a positive opinion from the European Medicines Agency recommending

12 conditional marketing authorization in March 2018, as was insisted by Dr. Shing against

13 Mahaffy’s forceful demands for an immediate EAP in July 2017; (2) the multi-million dollar

14 kickback funding of the sham STRAT-STAMPEDE study was in fact delayed by Dr. Shing’s

15 efforts initiated in May 2017, and ultimately, the sham STRAT-STAMPEDE study was

16 cancelled in June 2018; and (3) on the Clovis Q3 2018 earnings call in October 2018, Mahaffy

17 spoke of the challenges of rucaparib’s ovarian cancer growth including “a perceived lack of

18 differentiation amongst the market of PARP inhibitors” – a problem that could have been

19 prevented by Dr. Shing’s Rucaparib Medical Differentiation Workshop in December 2017, but it

20 was cancelled.

21                                    FIRST CAUSE OF ACTION

22         Whistleblower Retaliation in Violation of California Labor Code section 1102.5

23                                      [Dr. Shing Against Clovis]

24          47.     Plaintiff incorporates by reference and realleges each and every allegation set

25 forth above, as though fully set forth herein.

26          48.     Pursuant to California Labor Code section 1102.5(b), “[a]n employer, or any

27 person acting on behalf of the employer, shall not retaliate against an employee for disclosing

28 information . . . to a person with authority over the employee or another employee who has the

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 1 authority to investigate, discover, or correct the violation or noncompliance . . . if the employee

 2 has reasonable cause to believe that the information discloses a violation of state or federal

 3 statute, or a violation of or noncompliance with a local, state, or federal rule or regulation,

 4 regardless of whether disclosing the information is part of the employee’s job duties.”

 5 Furthermore, pursuant to California Labor Code section 1102.5(c), “[a]n employer, or any person

 6 acting on behalf of the employer, shall not retaliate against an employee for refusing to

 7 participate in an activity that would result in a violation of state or federal statute, or a violation

 8 of or noncompliance with a local, state, or federal rule or regulation.”

 9          49.     Dr. Shing repeatedly made protected disclosures to both her superiors and the

10 Clovis Compliance Committee regarding the company’s violations of applicable federal and

11 state laws and regulations, including, but not limited to, 15 U.S.C. section 77q, 15 U.S.C. section

12 78dd-1, 42 U.S.C. section 1320a-7b, 17 C.F.R. section 240.10b-5, and California Labor Code

13 section 1050. Dr. Shing also refused to participate in Clovis’ unlawful activities.

14          50.     Dr. Shing believes and thereon alleges that her protected disclosures and refusal

15 to participate in Clovis’ unlawful activities were contributing factors in Clovis’ continuing

16 course of unlawful conduct, including retaliation, as set forth hereinabove. Such retaliation is in

17 violation of California Labor Code sections 1102.5(b) and (c), and has resulted in damage and

18 injury to Dr. Shing, as alleged herein.

19          51.     As a proximate result of Clovis’ willful, knowing, and intentional retaliation

20 against Dr. Shing, she has sustained and continues to sustain substantial losses in earnings and

21 other employment benefits.

22          52.     Furthermore, as a proximate result of Clovis’ unlawful conduct, Dr. Shing has

23 sustained and continues to sustain physical injuries, pain and suffering, extreme and severe

24 mental anguish, and emotional distress. Dr. Shing has also incurred and will continue to incur

25 medical expenses for treatment and for incidental medical expenses. Dr. Shing is thereby

26 entitled to general and compensatory damages in amounts to be proven at trial.

27          53.     Clovis’ unlawful conduct, as described above, was willful, despicable, knowing,

28 and intentional; accordingly, Dr. Shing seeks an award of punitive and exemplary damages in an

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 1 amount according to proof.

 2                                   SECOND CAUSE OF ACTION

 3                        Wrongful Termination in Violation of Public Policy

 4                                      [Dr. Shing Against Clovis]

 5           54.    Plaintiff incorporates by reference and realleges each and every allegation set

 6 forth above, as though fully set forth herein.

 7           55.    The public policy of the State of California, as set forth in its Labor Code section

 8 1102.5(b), provides that “[a]n employer, or any person acting on behalf of the employer, shall

 9 not retaliate against an employee for disclosing information . . . to a person with authority over

10 the employee or another employee who has the authority to investigate, discover, or correct the

11 violation or noncompliance . . . if the employee has reasonable cause to believe that the

12 information discloses a violation of state or federal statute, or a violation of or noncompliance

13 with a local, state, or federal rule or regulation, regardless of whether disclosing the information

14 is part of the employee’s job duties.” Moreover, the public policy of the State, as set forth in its

15 Labor Code section 1102.5(c), provides that “[a]n employer, or any person acting on behalf of

16 the employer, shall not retaliate against an employee for refusing to participate in an activity that

17 would result in a violation of state or federal statute, or a violation of or noncompliance with a

18 local, state, or federal rule or regulation.” Labor Code section 1102.5 “reflects the broad public

19 policy interest in encouraging workplace whistle-blowers to report unlawful acts without fearing

20 retaliation.” (Hager v. County of Los Angeles (2014) 228 Cal.App.4th 1538, 1548, quoting

21 Green v. Ralee Engineering Co. (1998) 19 Cal.4th 66, 77 [internal quotations omitted].)

22           56.    As set forth hereinabove, Dr. Shing believes that her (1) protected disclosures

23 regarding, inter alia, Clovis’ violations of applicable federal and state laws and regulations, and

24 (2) refusal to participate in such unlawful activities were contributing factors in Clovis’

25 continuing course of unlawful conduct, including retaliation and wrongful termination. Such

26 misconduct is in violation of the public policy of the State of California set forth in its Labor

27 Code sections 1102.5(b),(c), and has resulted in damage and injury to Dr. Shing, as alleged

28 herein.

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 1          57.    As a proximate result of Clovis’ willful, knowing, and intentional retaliation and

 2 discrimination against Dr. Shing, she has sustained and continues to sustain substantial losses in

 3 earnings and other employment benefits.

 4          58.    As a direct and proximate result of Clovis’ unlawful conduct, Dr. Shing has

 5 sustained and continues to sustain physical injuries, pain and suffering, extreme and severe

 6 mental anguish, and emotional distress. Dr. Shing has also incurred and will continue to incur

 7 medical expenses for treatment and for incidental medical expenses. Dr. Shing is thereby

 8 entitled to general and compensatory damages in amounts to be proven at trial.

 9          59.    Clovis’ conduct as described above was willful, despicable, knowing, and

10 intentional; accordingly, Dr. Shing seeks an award of punitive and exemplary damages in an

11 amount according to proof.

12                                   THIRD CAUSE OF ACTION

13                                             Defamation

14                             [Dr. Shing Against Clovis and Bozeman]

15          60.    Plaintiff incorporates by reference and realleges each and every allegation set

16 forth above, as though fully set forth herein.

17          61.    Dr. Shing alleges, upon information and belief, that Clovis and Bozeman willfully

18 and maliciously made false and defamatory statements about her, both internally to co-workers at

19 Clovis and externally to third persons, as set forth hereinabove. These statements include

20 express and implied statements that Dr. Shing’s subordinates were afraid of her, that her

21 “leadership assimilation” into Clovis was poor, and that she abandoned her colleagues by

22 resigning immediately prior to the Medical Differentiation Workshop, forcing its cancellation.

23 The statements are defamatory per se, in that their defamatory meaning is readily perceived

24 without extrinsic aid beyond intelligence and common sense.

25          62.    The aforementioned false and defamatory statements were made by Bozeman in

26 her official capacity as an agent and/or employee of Clovis, for which the company may be held

27 liable under principles of respondeat superior. (Kelly v. General Telephone Co. (1982) 136

28 Cal.App.3d 278, 284, citing Sanborn v. Chronicle Pub. Co. (1976) 18 Cal.3d 406, 411.)

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 1          63.    The aforementioned false and defamatory statements were unprivileged. First, the

 2 publications were motivated by Bozeman’s hatred or ill will towards Dr. Shing, as evidenced by,

 3 inter alia, her fabrication of baseless charges, Burrill v. Nair (2013) 217 Cal.App.4th 357, 391;

 4 and deliberate decision not to acquire knowledge of facts that might confirm the probable falsity

 5 of the statements, Antonovich v. Superior Court (1991) 234 Cal.App.3d 1041, 1048, quoting

 6 Harte-Hanks Communications, Inc. v. Connaughton (1989) 491 U.S. 657, 692. Second,

 7 Bozeman lacked reasonable ground for belief in the truth of the publications and therefore acted

 8 in reckless disregard of Dr. Shing’s rights.

 9          64.    Dr. Shing is informed and believes that the false and defamatory statements will

10 continue to be published by Clovis and Bozeman and will be foreseeably republished by their

11 recipients, all to the ongoing harm and injury to Dr. Shing’s business, professional, and personal

12 reputations. Therefore, Dr. Shing seeks redress in this action for all foreseeable republications,

13 including her own compelled self-publication of the statements.

14          65.    Dr. Shing is entitled to special damages for the damage done to her property,

15 business, trade, profession, or occupation. In particular, Clovis’ and Bozeman’s statements to

16 Dr. Shing’s colleagues damaged her professional reputation and harmed her prospect of finding

17 other employment in her chosen professions.

18          66.    Dr. Shing is also entitled to general damages for her loss of reputation and

19 harassment in accordance with proof at trial.

20          67.    Clovis and Bozeman acted with reckless, willful, or callous disregard for Dr.

21 Shing’s rights and with malice, fraud, or oppression toward her, thereby entitling Dr. Shing to an

22 award of punitive damages in accordance with proof at trial.

23                                  FOURTH CAUSE OF ACTION

24                              Breach of Express or Implied Contract

25                                           [Against Clovis]

26          68.    Plaintiff incorporates by reference and realleges each and every allegation set

27 forth above, as though fully set forth herein.

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 1          69.    The terms and conditions of Dr. Shing’s employment relationship with Clovis

 2 were governed by express and implied agreements (“contract”) between the parties. Said

 3 contract included, but was not limited to, all applicable policies and procedures of Clovis,

 4 including, but not limited to, those requiring progressive discipline, due process, and good cause

 5 for termination, along with those policies prohibiting retaliation and discrimination.

 6          70.    In taking the adverse actions against Dr. Shing complained of herein, Clovis

 7 deliberately breached such contract of employment.

 8          71.    As a direct, foreseeable, and proximate result of Clovis’ breach of said contract,

 9 Dr. Shing has lost income and career opportunities, and has suffered other economic losses, to be

10 determined at time of trial. Dr. Shing has sought to mitigate such wage-related damages.

11                                   FIFTH CAUSE OF ACTION

12                 Breach of the Implied Covenant of Good Faith and Fair Dealing

13                                           [Against Clovis]

14          72.    Plaintiff incorporates by reference and realleges each and every allegation set

15 forth above, as though fully set forth herein.

16          73.    The aforesaid employment contract contained an implied covenant of good faith

17 and fair dealing, by which Clovis promised to give full cooperation to Dr. Shing and her

18 performance under said contract, and to refrain from doing any act which would prevent or

19 impede Dr. Shing’s enjoyment of the fruits of the contract. Specifically, the covenant required

20 Clovis to fairly, honestly, and reasonably perform the terms and conditions of the contract.

21          74.    Dr. Shing is informed and on that basis believes that Clovis breached the

22 aforesaid employment contract with Dr. Shing without conducting any reasonable investigation

23 concerning their obligations under the contract, without good or sufficient cause, for reasons

24 extraneous to the contract, and for the purpose of frustrating Dr. Shing’s enjoyment of the

25 benefits of the contract. Accordingly, Clovis breached their implied duty of good faith and fair

26 dealing.

27 ///

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 1          75.    Furthermore, Clovis breached the aforesaid covenant with regard to Plaintiff

 2 through their conduct in:

 3                 a. subjecting Dr. Shing to differential standards of conduct from other

 4                 employees;

 5                 b. terminating Dr. Shing’s employment without cause, reason, or justification;

 6                 and

 7                 c. failing to follow written personnel policies, or to apply the same personnel

 8                 practices to other employees in the same manner that they were strictly applied to

 9                 Dr. Shing.

10          76.    As a direct, foreseeable, and proximate result of Clovis’ breach of the implied

11 covenant of good faith and fair dealing, Dr. Shing has lost income and career opportunities, and

12 has suffered other economic losses, to be determined at time of trial. Dr. Shing has sought to

13 mitigate such wage-related damages.

14                                      PRAYER FOR RELIEF

15          WHEREFORE, Dr. Shing prays for judgment against Clovis and Bozeman as follows:

16          A.     For injunctive relief and all orders necessary to ensure that Clovis establishes and

17 enforces policies and procedures protecting its employees from unlawful retaliation and

18 discrimination;

19          B.     For compensatory damages, including loss of wages, promotional opportunities,

20 employment benefits, vacation benefits, reinstatement, medical bills, and other special and

21 general damages according to proof but in excess of the jurisdictional threshold of this court;

22          C.     For mental and emotional distress damages;

23          D.     For an award of interest, including prejudgment interest, at the legal rate;

24          E.     For reasonable attorneys’ fees pursuant to California Code of Civil Procedure

25 section 1021.5 and all other applicable statutes;

26          F.     For punitive and exemplary damages in an amount sufficient to punish and deter

27 Clovis’ and Bozeman’s outrageous conduct;

28          G.     For costs of suit incurred herein; and,

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 1          H.        For such other and further relief as the court deems just and proper.

 2

 3                                     DEMAND FOR JURY TRIAL

 4          Pursuant to Rule 38(a) of the Federal Rules of Civil Procedure, Plaintiff hereby demands

 5 a trial by jury.

 6

 7 DATE: April 7, 2018                              GWILLIAM, IVARY, CHIOSSO, CAVALLI & BREWER

 8

 9                                                         /s/ Robert J. Schwartz
                                                           Robert J. Schwartz
10
                                                           Attorneys for Plaintiff
11                                                         MONA SHING, M.D.

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